Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109176 Page 1 of 7


1
2    ALLEN & OVERY LLP
     John Roberti (DC 495718)
3    1101 New York Avenue N.W.
     Washington, D.C., 20005
4    Telephone: +1.202.683.3800
5    Facsimile: +1.202.683.3999
     john.roberti@allenovery.com
6
     Joshua L. Shapiro (NY 4499695)
7    1221 Avenue of the Americas
8    New York, NY 10020
     Telephone: +1.212.610.6300
9    Facsimile: +1.212.610.6399
     joshua.shapiro@allenovery.com
10
     Counsel for Defendants Tri-Union Seafoods LLC
11   d/b/a Chicken of the Sea International and Thai
12   Union Group PCL

13
     (Additional Counsel on Signature Pages)
14
15
                          UNITED STATES DISTRICT COURT
16
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
18
     IN RE: PACKAGED SEAFOOD                         Case No.: 3:15-md-2670-JLS-MDD
19
     PRODUCTS ANTITRUST LITIGATION
20                                                   NOTICE OF ERRATA TO THE
     ___________________________________             EXPERT REPORT OF DR. LAILA
21
     This document relates to:                       HAIDER
22
     Commercial Food Preparer Plaintiff Action       Date: December 20, 2018
23
                                                     Time: 9:00 a.m.
24                                                   Judge: Hon. Janis L. Sammartino
                                                     Courtroom: 4D
25
26
27
28

                                                 1
                                                                           3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109177 Page 2 of 7


1          PLEASE TAKE NOTICE that Defendants Tri-Union Seafoods LLC d/b/a
2    Chicken of the Sea International, Thai Union Group PCL, Bumble Bee Foods LLC,
3    StarKist Co., Dongwon Industries Co., Ltd., and Del Monte Corporation (together, the
4    “Defendants”) hereby file with the Court a Notice of Errata to the Expert Report of Dr.
5    Laila Haider filed on October 2, 2018 in the Commercial Food Preparer Action (“the
6    Haider Report”).
7          The Errata corrects typographical errors in two citations and two product
8    references. The corrections have no material impact on any of the conclusions or
9    opinions expressed in the Haider Report.
10         The Errata is attached hereto as Exhibit A.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 2
                                                                            3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109178 Page 3 of 7


1                                  By: s/ John Roberti
     Dated: October 25, 2018
2
                                   ALLEN & OVERY LLP
3                                  John Roberti (DC 495718)
4                                  Kelse Moen (DC 1035164)
                                   Jana Steenholdt (DC 1034459)
5                                  1101 New York Avenue N.W.
6                                  Washington, D.C. 20005
                                   1101 New York Avenue N.W.
7                                  Washington, D.C. 20005
8                                  Telephone: (202) 683-3800
                                   Facsimile: (202) 683-3999
9                                  john.roberti@allenovery.com
10                                 kelse.moen@allenovery.com
                                   jana.steenholdt@allenovery.com
11
12                                 Brian Fitzpatrick (NY 4853040)
                                   Joshua L. Shapiro (NY 4499695)
13                                 1221 Avenue of the Americas
14                                 New York, NY 10020
                                   Telephone: (212) 610-6300
15                                 Facsimile: (212) 610-6399
16                                 brian.fitzpatrick@allenovery.com
                                   joshua.shapiro@allenovery.com
17
18                                 Counsel for Defendants Tri-Union Seafoods LLC
                                   d/b/a Chicken of the Sea International and Thai
19                                 Union Group PCL
20
                                   By: /s/ Kenneth A. Gallo
21
22                                 PAUL, WEISS, RIFKIND, WHARTON &
                                   GARRISON LLP
23                                 Kenneth A. Gallo (NY 4484457)
24                                 Craig A. Benson (DC 473285)
                                   Joseph J. Bial (NY 4151528)
25                                 2001 K Street, NW
26                                 Washington, DC 20006-1047
                                   Telephone: 202-223-7356
27                                 Facsimile: 202-204-7356
28                                 Email: kgallo@paulweiss.com

                                           3
                                                                      3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109179 Page 4 of 7


1
                                   Email: cbenson@paulweiss.com
2                                  Email: jbial@paulweiss.com
3
                                   William B. Michael (NY 4296356)
4                                  1285 Avenue of the Americas
5                                  New York, NY 10019-6064
                                   Telephone: 212-373-3648
6                                  Facsimile: 212-492-0648
7                                  Email: wmichael@paulweiss.com

8                                  Counsel for Defendant Bumble Bee Foods, LLC
9
                                   By: s/ Barbara T. Sicalides
10
11                                 PEPPER HAMILTON LLP
                                   Barbara T. Sicalides (PA 57535)
12                                 Barak A. Bassman (PA 85626)
13                                 Megan Morley (PA 321706)
                                   Benjamin J. Eichel (PA 307078)
14                                 Alexander L. Harris (PA 311382)
15                                 3000 Two Logan Square
                                   Eighteenth and Arch Streets
16                                 Philadelphia, PA 19103-2799
17                                 Telephone: (215) 981-4000
                                   Facsimile: (215) 981-4750
18                                 sicalidesb@pepperlaw.com
19                                 bassmanb@pepperlaw.com
                                   morleym@pepperlaw.com
20                                 eichelb@pepperlaw.com
21                                 harrisa@pepperlaw.com

22                                 Counsel for Defendant Del Monte Corporation
23
                                   By: s/ Belinda S Lee
24
                                   LATHAM & WATKINS LLP
25                                 Alfred C. Pfeiffer (Cal. Bar No. 120965)
26                                 Christopher S. Yates (Cal. Bar No. 161273)
                                   Belinda S Lee (Cal. Bar No. 199635)
27                                 Niall E. Lynch (Cal Bar No. 157959)
28                                 Ashley M. Bauer (Cal. Bar No. 231626)

                                           4
                                                                     3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109180 Page 5 of 7


1
                                   505 Montgomery Street, Suite 2000
2                                  San Francisco, CA 94111-6538
3                                  Telephone: (415) 391-0600
                                   Facsimile: (415) 395-8095
4                                  Al.Pfeiffer@lw.com
5                                  Chris.Yates@lw.com
                                   Belinda.Lee@lw.com
6                                  Niall.Lynch@lw.com
7                                  Ashley.Bauer@lw.com

8                                  Counsel for Defendants StarKist Co. and Dongwon
9                                  Industries Co., Ltd.

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           5
                                                                       3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109181 Page 6 of 7


1                                SIGNATURE ATTESTATION
2          Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby
3    certify that authorization for filing this document has been obtained from each of the
4    other signatories shown above, and that all signatories have authorized placement of their
5    electronic signature on this document.
6
7                                                /s/ John Roberti
8                                                John Roberti

9    October 25, 2018                            Counsel for Defendants Tri-Union Seafoods
                                                 LLC d/b/a Chicken of the Sea International
10                                               and Thai Union Group PCL

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 6
                                                                            3:15-md-2670-JLS-MDD
Case 3:15-md-02670-JLS-MDD Document 1551 Filed 10/25/18 PageID.109182 Page 7 of 7


1                                 CERTIFICATE OF SERVICE
2          I hereby certify that on October 25, 2018, I electronically filed the foregoing
3    Defendants’ Motion to File Documents Under Seal with the Clerk of Court for the United
4    States District Court, Southern District of California by using the Court’s CM/ECF
5    system, which will serve electronic notification of this filing to all counsel of record.
6
7                                                   /s/ John Roberti
8                                                   John Roberti

9    October 25, 2018                               Counsel for Defendants Tri-Union Seafoods
                                                    LLC d/b/a Chicken of the Sea International
10                                                  and Thai Union Group PCL

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   7
                                                                                3:15-md-2670-JLS-MDD
